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19                           UNITED STATES DISTRICT COURT
20                               DISTRICT OF ARIZONA

21     Arizona State Legislature, et al.,             No. 3:24-cv-08026-PCT-SMM
                                                      consolidated with
22                           Plaintiffs,              3:24-cv-08027-PHX-DLR
23     v.

24     Joseph R. Biden, Jr., et al.,                  STATE AND GOVERNOR OF
25                                                    ARIZONA’S MOTION TO
                             Defendants.              DISMISS
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 1          Pursuant to Federal Rule of Civil Procedure 12(b)(1), Intervenor-Defendants
 2   Governor Katie Hobbs and the State of Arizona move to dismiss the Complaint filed by
 3   the Legislature, State Treasurer, Mohave County, Colorado City, and Fredonia’s
 4   (collectively, “ASL Plaintiffs”).
 5                                       INTRODUCTION
 6          Arizona is known around the world as the “Grand Canyon State.” As Arizona’s
 7   namesake, the Grand Canyon is a Natural Wonder of the World, a sacred place for
 8   Indigenous Peoples, a significant contributor to Arizona’s economy through tourism, a
 9   creator of thousands of jobs, and a place where millions hike, hunt, fish, pray, meditate,
10   camp, and enjoy the natural world. Its importance reaches far beyond the boundaries of our
11   State and its name is carried in hearts and minds around the globe. The federal government
12   has protected the area around the Grand Canyon in various ways for more than a century,
13   since President Roosevelt used his power under the Antiquities Act to designate the Canyon
14   a national monument in 1908.
15          In August 2023—with the support of Arizona Governor Katie Hobbs, tribal leaders,
16   and other stakeholders across Arizona—President Biden established the Baaj Nwaavjo I’tai
17   Kukveni-Ancestral Footprints of the Grand Canyon National Monument (the “Ancestral
18   Footprints Monument” or the “Monument”), protecting nearly one million acres of public
19   lands surrounding Grand Canyon National Park. The Monument’s name reflects the
20   Havasupai and Hopi heritage of the area, dating to long before Arizona was even a territory.
21          Highlighting the area’s rich history and its cultural, economic, and scientific
22   importance to the State of Arizona, Governor Hobbs wrote to President Biden in May 2023,
23   encouraging the establishment of the Ancestral Footprints Monument. The State and the
24   Governor, as the State’s chief executive, have concluded that establishment of the
25   Ancestral Footprints Monument benefits Arizona. And the Arizona State Land
26   Department—the only state actor statutorily authorized to manage State Trust Land,
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 1   including initiating litigation to protect the land and its revenues—does not believe
 2   establishment of the Monument negatively impacts State Trust Land.
 3             Nonetheless, without consulting with or even speaking to the Governor, the
 4   Attorney General, or any relevant State agencies, the ASL Plaintiffs sued the Biden
 5      Administration for establishing the Ancestral Footprints Monument. But the Legislature
 6      does not speak for the State of Arizona and it cannot purport to represent the State’s
 7      interests before this Court. Moreover, nothing in the ASL Plaintiffs’ Complaint establishes
 8      actual injuries sufficient to confer Article III standing.
 9             Contrary to the allegations in the Complaint, the Monument does not encumber
10      State Trust Land, and the alleged impacts on mining activity, state and local revenue, and
11      the State’s energy supply are speculative at best. Because the Complaint fails to identify a
12      single, particularized harm that any Plaintiff has suffered or might imminently suffer due
13      to the Monument’s designation, the ASL Plaintiffs lack standing and their claims are not
14      properly before this Court. Accordingly, pursuant to Federal Rule of Civil Procedure
15      12(b)(1), Governor Hobbs and the State respectfully request the Court dismiss the ASL
16      Plaintiffs’ Complaint with prejudice.
17                                            BACKGROUND
18 I.          Designation of the Ancestral Footprints Monument
19             The area around Grand Canyon National Park is made up of both state and federal
20   land. Through various legislative and administrative actions, the federal government has
21   protected federal land in the area since before Arizona became a state. The Grand
22   Canyon—which itself comprises more than a million acres—was first designated as a
23   national monument by President Theodore Roosevelt in 1908. See Proclamation No. 794,
24   35 Stat. 2175 (Jan. 11, 1908). Congress later established the Grand Canyon as a national
25   park in 1919. See 40 Stat. 1175 (1919).
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 1          In more recent history, President Ronald Reagan signed the Arizona Wilderness Act
 2   of 1984, which withdrew large swaths of federal land around the Grand Canyon and the
 3   Kaibab National Forest to preserve as wilderness areas.1 Arizona Wilderness Act of 1984,
 4   Pub. L. No. 98–406, 98 Stat. 1485. The government withdrew more of its land for
 5   wilderness conservation in the same area over the course of several decades and, in 2012,
 6   withdrew more than one million acres for 20 years under the General Mining Law,
 7   restricting mining activity in that area until 2032. See 77 Fed. Reg. 2563 (withdrawing
 8   federal land in Coconino and Mohave Counties “to protect the Grand Canyon Watershed
 9   from adverse effects of locatable mineral exploration and development”).
10          In May 2023, Governor Hobbs wrote to President Biden, U.S. Secretary of the
11   Interior Deb Haaland, and U.S. Secretary of the Interior Thomas Vilsack, encouraging the
12   Administration to establish a national monument on additional federal land around the
13   Grand Canyon. Compl. ¶ 191(h). Governor Hobbs highlighted the Grand Canyon’s
14   importance for Arizona in her letter: The Grand Canyon provides nearly 10,000 jobs and
15   is a huge economic contributor through tourism; it contains multitudes of history and
16   heritage for the tribes that have inhabited the area for centuries; it is an important
17   ecosystem; and it provides millions of people with natural space to recreate. Id.
18          On August 8, 2023, President Biden declared the federal land surrounding the Grand
19   Canyon to be a national monument. Compl. ¶ 134. The Proclamation establishing the
20   Monument is detailed, describing specific reasons why the area must be preserved.
21   Establishment of the Baaj Nwaavjo I’tah Kukveni–Ancestral Footprints of the Grand
22   Canyon National Monument, 88 Fed. Reg. 55331 (“Proclamation”).
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26   1
       See United States’ Motion to Dismiss at pp. 3-4, ECF No. 49 (describing how the
     federal government may “reserve” or “withdraw” lands from general land laws).
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 1 II.      State Trust Lands and the Monument Designation
 2          The Arizona State Land Department (the “State Land Department” or the
 3   “Department”), a state executive branch agency whose head serves at the direction and
 4   pleasure of the Governor, administers all laws relating to land owned by the State and has
 5   “charge and control” of State Trust Land.2 A.R.S. § 37-102(A)-(B). Moreover, the
 6   Department, “in the name of this state, may commence, prosecute and defend all actions
 7   and proceedings to protect the interest of this state in lands within this state or the proceeds
 8   of lands within this state.” A.R.S. § 37-102(C).
 9          Certain parcels of State Trust Land are situated around Grand Canyon National Park
10   and surrounded by federal land included in the Ancestral Footprints Monument. Those
11   State Trust Land parcels, however, are not part of the national monument designation and
12   the restrictions that apply to federal land included in the designation do not apply to state
13   land. See Proclamation at 55338 (stating that the President may only declare a monument
14   on “lands owned or controlled by the Federal Government”).
15          The Proclamation preserves water rights and grazing leases on State Trust Land. See
16   Proclamation at 55339 (“providing appropriate access for livestock grazing, recreation,
17   hunting, fishing, dispersed camping, wildlife management, and scientific research” on the
18   Ancestral Footprints Monument); id. (stating that the Proclamation does not “alter or affect
19   agreements governing the management and administration of the Colorado River,
20   including any existing interstate water compact”); id. (“Nothing in this proclamation shall
21   be deemed to prohibit grazing pursuant to existing leases or permits within the monument,
22   or the renewal or assignment of such leases or permits, which the BLM and Forest Service
23   shall continue to manage pursuant to their respective laws, regulations, and policies.”). And
24   it maintains accessibility to those lands. Id. at 55341 (stating that roads and highway
25   2
      State Trust Land is land granted by the United States or otherwise acquired by the State
26   of Arizona to be held in trust pursuant to the Enabling Act and Ariz. Const. art. X, § 1. See
     also State and Governor of Arizona’s Motion to Intervene at pp. 2-3.
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 1   corridors will continue to be created, maintained, replaced, modified, upgraded, and
 2   expanded). From the State’s point of view, little has practically changed for the State Trust
 3   Land except for the designation of the federal land around it.
 4                                     LEGAL STANDARD
 5          Plaintiffs have the burden to establish jurisdiction in federal court. See Sw. Ctr. for
 6   Biological Diversity v. FERC, 967 F. Supp. 1166, 1172 (D. Ariz. 1997). “Article III
 7   standing is a necessary component of subject matter jurisdiction.” In re Palmdale Hills
 8   Prop., LLC, 654 F.3d 868, 873 (9th Cir. 2011); see also Lujan v. Defs. of Wildlife, 504 U.S.
 9   555, 561 (1992) (“The party invoking federal jurisdiction bears the burden of establishing
10   [standing].”). It “asks whether a litigant is entitled to have a federal court resolve his
11   grievance” and involves “constitutional limitations on federal-court jurisdiction.” Kowalski
12   v. Tesmer, 543 U.S. 125, 128-29 (2004) (quoting Warth v. Seldin, 422 U.S. 490, 498
13   (1975)). To establish Article III standing, plaintiffs must show: (1) that they suffered an
14   injury in fact; (2) that the challenged conduct caused their alleged injury; and (3) that a
15   favorable decision would likely redress the claimed injury. Barnum Timber Co. v. United
16   States EPA, 633 F.3d 894, 897 (9th Cir. 2011).
17          To establish an injury in fact, “a plaintiff must show that he or she suffered ‘an
18   invasion of a legally protected interest’ that is ‘concrete and particularized’ and ‘actual or
19   imminent, not conjectural or hypothetical.’” Spokeo, Inc. v. Robins, 578 U.S. 330, 339
20   (2016) (quoting Lujan, 504 U.S. at 560). A “concrete” and “particularized” injury must be
21   “real,” not “abstract,” id., and “must affect the plaintiff in a personal and individual way.”
22   Raines v. Byrd, 521 U.S. 811, 819 (1997) (quotation omitted); see also Lance v. Coffman,
23   549 U.S. 437, 439 (2007) (The federal courts’ “refusal to serve as a forum for generalized
24   grievances has a lengthy pedigree.”). And to be “actual or imminent,” a threatened injury
25   must be “certainly impending”—“allegations of possible future injury are not sufficient.”
26   Clapper v. Amnesty Int'l USA, 568 U.S. 398, 409 (2013) (cleaned up). “[W]hen a federal
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 1   court concludes that it lacks subject-matter jurisdiction, the court must dismiss the
 2   complaint in its entirety.” Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006).
 3          When ruling on a motion to dismiss for lack of subject matter jurisdiction, the court
 4   is “free to hear evidence regarding jurisdiction and to rule on that issue prior to trial,
 5   resolving factual disputes where necessary.” Augustine v. United States, 704 F.2d 1074,
 6   1077 (9th Cir. 1983). The court may also take judicial notice of “matters of public record”
 7   and other evidence “capable of accurate and ready determination by resort to sources whose
 8   accuracy cannot be reasonably questioned.” In re White Elec. Designs Corp. Sec. Lit., 416
 9   F. Supp. 2d 754, 760 (D. Ariz. 2006); see also DeFiore v. SOC LLC, 85 F.4th 546, 553 n.2
10   (9th Cir. 2023) (noting that “materials of which a district court may take judicial notice are
11   not considered extrinsic evidence for purposes of Rule[] 12(b)(1)”); Knapp Med. Ctr. v.
12   Burwell, 192 F. Supp. 3d 129, 131 n.1 (D.D.C. 2016) (taking judicial notice of federal
13   government website when considering a Rule 12(b)(1) motion); Fed. R. Evid. 201. Thus,
14   “the existence of disputed material facts will not preclude the trial court from evaluating
15   for itself the merits of jurisdictional claims.” Augustine, 704 F.2d at 1077. However, the
16   burden remains on the plaintiff “who invoked the federal jurisdiction.” Sw. Ctr. for
17   Biological Diversity, 967 F. Supp. at 1172.
18                                          ARGUMENT
19          ASL Plaintiffs lack standing to bring this suit. ASL Plaintiffs largely allege harm to
20   interests that are not theirs to protect, but that instead can only be lawfully raised by the
21   State and the executive branch. Moreover, their alleged harms are little more than
22   speculation and conjecture about the potential impact of possibly decreased mining activity
23   that may result more than eight years from now. Further, courts have declined to find
24   Article III standing based on an alleged need to divert “time and effort” to activities that
25   are no different than a plaintiff’s normal business duties. Finally, ASL Plaintiffs cannot
26   pursue their “generalized grievance” about a potential (and highly speculative) disruption
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 1   to the energy supply that could result from the establishment of the Monument. Because
 2   ASL Plaintiffs do not (and cannot) allege that the Monument has caused or will cause them
 3   concrete, particularized, actual, and imminent harm, they lack standing to bring their claims
 4   and the Court should dismiss their Complaint.
 5 I.       ASL Plaintiffs lack authority to sue in federal court over harms to the State
 6          and State Trust Land.

 7          The Complaint relies heavily on allegations of harm to State Trust Land as well as

 8   an array of purported harms to the State, including to mining and groundwater interests on

 9   state land and in the State generally. But ASL Plaintiffs cannot establish standing based on

10   those allegations. At bottom, they are seeking to vindicate interests that are not lawfully

11   theirs to assert in court.

12          First, most of the harms alleged in the Complaint are alleged harms to State Trust

13   Land. See Compl. ¶¶ 165-175; 191(b)-(c), (g), (i)-(l); 192(a), (c), (e)-(f). For example, ASL

14   Plaintiffs claim the Proclamation will: (1) reduce the value of or revenue from parcels of

15   State Trust Land surrounded by the Monument, (2) increase the costs of maintaining State

16   Trust Land, and (3) restrict access to and uses of State Trust Land. Compl. ¶¶ 169-171,

17   173-176, 191(b)-(c), (g), (j)-(k), 192(c)-(f). Even putting aside the questionable accuracy

18   and highly speculative nature of these allegations, ASL Plaintiffs lack authority to assert

19   these harms.

20          As the Complaint itself acknowledges, “[t]he administration, charge, and control of

21   state land is vested in the state land department.” Compl. ¶ 191(h) (quoting Berry v. Ariz.

22   State Land Department, 651 P.2d 853, 855 (Ariz. 1982)); see also A.R.S. § 37-102(B);

23   Compl. ¶ 191(g) (citing Silver v. Babbitt, 166 F.R.D. 418, 430 (D. Ariz. 1994), which

24   acknowledges the Department’s “strict[] obligat[ion] to manage the trust lands for the

25   benefit of the trust and its beneficiaries”). The State Land Department is also the entity

26   authorized by law to “commence, prosecute and defend,” on behalf of the State, “all

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 1   actions” to protect State Trust Land and proceeds therefrom. A.R.S. § 37-102(A)-(C); see
 2   also supra Part II. ASL Plaintiffs cannot establish an individualized injury—let alone one
 3   that confers standing for them to sue in federal court—based on the alleged harms to State
 4   Trust Land. The Legislature’s constitutional power to “provide laws for the sale or lease of
 5   all State Trust Land,” Compl. ¶ 85, is also not enough. That authorization is limited to
 6   legislating, not litigating. See State ex rel. Woods v. Block, 189 Ariz. 269, 275 (1997)
 7   (stating that “those who make the law [must] be different from those who execute and apply
 8   it” (quoting Matter of Walker, 153 Ariz. 307, 310 (1987)).
 9          Second, ASL Plaintiffs are similarly without authority to sue to vindicate interests
10   of the State generally. The Complaint alleges injuries to Arizona’s mining interests. Compl.
11   ¶¶ 177-89. For example, ASL Plaintiffs claim that a “permanent” ban on new mining within
12   the Ancestral Footprints Monument will reduce State tax revenue and endanger the State
13   and country’s nuclear energy supply by continuing foreign reliance on uranium. Compl.
14   ¶¶ 180-87. These allegations pile conjecture upon conjecture, but even if the assertions
15   (and assumptions) had a hint of truth, they are all injuries to the State of Arizona, for which
16   only the Attorney General, on behalf of the State—not ASL Plaintiffs—has authority to
17   sue.3 Block, 189 Ariz. at 277 (“[C]onducting litigation on behalf of the state, as authorized
18   by the Legislature, is an executive function.”).4
19
20
     3
       Legislative Plaintiffs’ alleged harms stemming from concerns about reduced mining
     suffer from a separate fatal deficiency: lack of redressability. Even if the Court invalidated
21   the Proclamation, mining in the area would still remain restricted until 2032. See supra
     Part I (mining on federal land in the area has been restricted since 1984 and would continue
22
     to be until 2032 notwithstanding the new Monument); Lujan, 504 U.S. at 570 (finding no
23   Article III standing where “resolution by the District Court would not have remedied
     respondents’ alleged injury”).
24   4
       The same is true for the State’s interest in “protecting the people’s freedom” and
25   “preserv[ing] the checks and balances of the United States Constitution.” Compl. ¶ 13. That
     interest does not transform ASL Plaintiffs into roving defenders of the United States
26   Constitution. In particular, they are not automatically authorized to “pursue legal remedies”
     every time they disagree with federal policy. Cf. id. (cleaned up).
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 1           A state may designate an official to represent it in federal court. See Virginia House
 2    of Delegates v. Bethune-Hill, 587 U.S. 658, 663-64 (2019). Here, Arizona has designated
 3    the Attorney General to represent the State on any case brought in federal court. A.R.S.
 4    § 41-193(A)(3) (stating that the Attorney General “[r]epresent[s] this state in any action in
 5    a federal court”). Arizona also designates one official to speak on behalf of the State to the
 6    federal government: the Governor. A.R.S. § 41-101(A)(5) (“The governor [s]hall be the
 7    sole official means of communication between this state and the government of any other
 8    state or the United States.”). Governor Hobbs did just that when she encouraged the federal
 9    government to establish the Ancestral Footprints Monument. Compl. ¶ 191(h). The ASL
10    Plaintiffs are without authority to come before this Court as if they were representing the
11    State’s interest and assert different positions on these matters. See Block, 189 Ariz. at 271-
12    72 (legislative body may not insert itself as a party in federal court, “asserting positions in
13    part contrary to those being asserted by the [executive branch] on behalf of the state in
14    those same proceedings.”).
15           Third, despite the Proclamation’s carveout for existing water rights, ASL Plaintiffs
16    allege that the Monument designation creates ambiguity about water rights “in the region.”
17    Compl. ¶¶ 188-89.5 Even if ASL Plaintiffs’ allegations had any merit, the Arizona
18    Department of Water Resources—whose director serves at the pleasure of the Governor—
19    controls and supervises surface and groundwater for the State. A.R.S. § 45-103. The
20    Department of Water Resources is also the State entity charged with prosecuting and
21    defending “all rights, claims and privileges of this state respecting interstate streams.” Id.
22    at § 45-105(A)(9). And to the extent the alleged harms pertain to water rights of State Trust
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24
25
      5
       Some of these claimed injuries are easily belied by the terms of the Proclamation itself,
      which unambiguously maintain the existing water rights and “agreements governing the
26    management and administration of the Colorado River, including any existing interstate
      water compact.” Proclamation at 55339.
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 1    Land, as explained above, the State Land Department has authority over those claims.
 2    Thus, ASL Plaintiffs lack authority to vindicate these interests.
 3           Finally, granting ASL Plaintiffs standing to sue in court based on any of these
 4    alleged harms to the State and the executive branch would raise significant separation of
 5    powers concerns. Arizona’s Constitution requires a clear separation of powers, stating that
 6    each of the three branches “shall be separate and distinct” and that none of them “shall
 7    exercise the powers properly belonging to either of the others.” Ariz. Const. art. III; see
 8    also Block, 189 Ariz. at 277 (holding that “to restore, maintain, and advance the state’s
 9    sovereignty and authority over issues that affect this state and the well-being of its citizens”
10    is an executive function); id. at 278 (holding unconstitutional a “legislative body
11    performing an executive function”); see also United States’ Motion to Dismiss at Part
12    I.1.a., ECF No. 49. Importantly, “those who make the law [must] be different from those
13    who execute and apply it.” Block, 189 Ariz. at 275 (quoting Walker, 153 Ariz. at 310). That
14    ASL Plaintiffs may disagree with current executive branch officials, see Compl. ¶ 191(h),
15    does not authorize them to disregard Arizona’s statutory scheme or the separation of
16    powers enshrined in the State’s constitution. Finding otherwise would permit ASL
17    Plaintiffs to unconstitutionally “take over an executive function by eliminating the”
18    executive officials from the process. Block, 189 Ariz. at 277 (The Arizona Legislature
19    cannot enhance its own control by “remov[ing] the Attorney General or any representative
20    of the executive from any semblance of control.”); see also United States’ Motion to
21    Dismiss at Part I.1.a., ECF No. 49.6
22    6
        To the extent the Legislature relies on its own procedural rules purporting to grant the
23    Senate President and House Speaker authority to either litigate this case or as a ground for
      Article III standing, that reliance is misplaced. See Compl. ¶ 11. The Legislature’s
24    procedural rules simply designate who in each chamber is authorized to speak on behalf of
25    that chamber in court. House Rule 4(K); Senate Rule 2(N). The rules are insufficient on
      their own to confer standing. See Ariz. State Legislature v. Ariz. Indep. Redistricting
26    Comm’n, 576 U.S. 787, 799-800, 802 (2015); see also Comm. on Judiciary of United States
      House of Representatives v. McGahn, 968 F.3d 755, 763 (D.C. Cir. 2020) (“The Supreme
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28                                                 - 10 -
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 1 II.       ASL Plaintiffs’ litany of speculative and conjectural alleged harms do not
 2           confer Article III standing.

 3           In addition to largely asserting harms to the State and to State Trust Land, the
 4    Complaint is replete with alleged harms that are “far too speculative and conjectural” to
 5    establish standing. Drake v. Obama, 664 F.3d 774, 781 (9th Cir. 2011). For example, the
 6    Complaint speculates about: (1) the potential impact of the Proclamation on the value of,
 7    proceeds from, and costs to maintain State Trust Land; see supra pp. 7-8; (2) potential
 8    decreased mining activity, leading to reduced economic development, Compl. ¶¶ 177-187,
 9    193(c)-(e), and possible disruption to the nuclear energy supply, Compl. ¶¶ 185-187,
10    191(d), 192(g), 193(g), 194(d), 195(c); (3) potential lost tax and other revenue, Compl.
11    ¶¶ 191(c), 192(d), 193(b), 194(a), 195(a); and (4) the potential impact on water rights and
12    the State’s water supply, Compl. ¶¶ 188-189, 191(e), 194(b).
13           However, plaintiffs cannot satisfy Article III standing requirements by guessing at
14    future harms. ASL Plaintiffs assert no facts indicating that mining activity, water rights,
15    state land values, or access to state land parcels have been impacted at all by the Monument
16    designation. Indeed, the Proclamation protects existing rights on federal land and does not
17    restrict mining on State Trust Land. Supra Part II. The Proclamation also protects and
18    contemplates expanding roads and highways within the Ancestral Footprints Monument.
19    Supra Part II.7 The alleged concerns are simply not actual or sufficiently imminent to
20    confer standing. Clapper, 568 U.S. at 410 (plaintiff may not rest on a “highly attenuated
21    chain of possibilities” to establish harm); see also Lake v. Fontes, 83 F.4th 1199, 1204 (9th
22
23    Court has confirmed that these general principles of standing apply to institutional injuries
      claimed by legislative bodies.”).
24    7
        Pinyon Plain Mine is the only active uranium mine in the area of the Ancestral Footprints
25    Monument. This Mine is on federal land and the Monument’s designation has not halted
      its operations. As of January 2024, it was actively removing and transporting ore. Pinyon
26    Plain Mine (formerly Canyon Uranium Mine), United States Forest Service,
      https://www.fs.usda.gov/detail/kaibab/home/?cid=FSM91_050263.
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 1    Cir. 2023) (no standing where plaintiffs failed to claim past injury and “failed to establish
 2    that a future injury was either imminent or substantially likely to occur”); Wright v. Serv.
 3    Emps. Int’l Union Loc. 503, 48 F.4th 1112, 1118 (9th Cir. 2022) (plaintiffs cannot rely “on
 4    mere conjecture”).
 5 III.      ASL Plaintiffs’ allegations regarding diverted “time and effort” to otherwise
 6           normal business duties do not confer Article III standing.

 7           ASL Plaintiffs also allege a series of harms that simply consist of their normal

 8    business duties. For example, the Legislature claims that it is harmed by the Monument

 9    designation because it might need to make new budget decisions and address water issues.

10    Compl. ¶¶ 191(b)-(c), (e). The State Treasurer claims harm from needing to account for

11    increases and decreases in State revenue. Compl. ¶ 192(d). And the Legislature, Treasurer,

12    Mohave County, Colorado City, and Fredonia all allege harm because they might need to

13    “divert . . . time and efforts to focus on issues created by the Proclamation,” including

14    publicly commenting on a Monument management plan, seeking information about

15    Monument management, and passing ordinances and resolutions to address the Monument.

16    Compl. ¶¶ 191(f), 192(e), (193(e), 194(c), 195(b). None of these allegations satisfy Article

17    III’s standing requirement.

18           An injury cannot establish standing if it is no more than merely “business as usual.”

19    Am. Diabetes Ass’n v. United States Dept’t of the Army, 938 F.3d 1147, 1155 (2019); see

20    also Friends of the Earth v. Sanderson Farms, Inc., 992 F.3d 939, 942 (9th Cir. 2021);

21    Mil.-Veterans Advoc. v. Sec’y of Veterans Affs., 7 F.4th 1110, 1130 (Fed. Cir. 2021). ASL

22    Plaintiffs’ claimed injuries are just that: The Legislature must pass a spending bill every

23    year, and that bill is necessarily impacted by any manner of global, national, statewide, and

24    local concerns. The Legislature also admits that it is already focusing on water issues in a

25    State facing long-term drought. See Compl. ¶ 191(e). The Treasurer’s duties—to take

26    “account of all monies received and disbursed, and keep separate accounts of the different

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 1    funds and appropriations of monies,” A.R.S. § 41-172—are the same no matter the
 2    amounts in her ledger. Friends of the Earth, 992 F.3d at 942; Am. Diabetes Ass’n, 938 F.3d
 3    at 1155. And each of the ASL Plaintiffs must stay apprised of relevant issues and govern
 4    despite changing circumstances.
 5           Even so, the Ancestral Footprints Monument has existed for nearly a year now, and
 6    yet the Complaint does not allege that any of the Plaintiffs actually diverted time as alleged.
 7    Compl. ¶¶ 191(f), 192(e), 193(e), 194(c), 195(b). Cf. Friends of the Earth, 992 F.3d at 942–
 8    43 (explaining that “activities undertaken after suit was filed,” such as litigation expenses
 9    and publicity, do not confer standing). This Court can only hear a case with real parties
10    who have real injuries, and this lawsuit just isn’t that.
11 IV.       ASL Plaintiffs’ speculative allegations about potential disruptions to the
             energy supply are non-cognizable generalized grievances and not fairly
12           traceable to the Monument or redressable by a favorable ruling.
13           Finally, ASL Plaintiffs allege harm as “a consumer of energy for buildings,
14    structures, and more,” and claim they are subject to “risks of power disruption . . . from the
15    natural consequences of the Proclamation: further degradation of supply of domestic
16    uranium and thus reinforced reliance on foreign imports of uranium by domestic nuclear
17    electricity suppliers.” Compl. ¶ 192(g); see also id. ¶¶ 191(d), 193(g), 194(d), 195(c).
18    According to ASL Plaintiffs, “[t]here is every reason to believe such a risk exists” because
19    foreign nations, like Russia, with interests adverse to the United States, “‘leverage’ their
20    control over [uranium] companies ‘to further geopolitical ambitions” and possess “military
21    means to deny [the United States] access to Kazakh and Uzbek uranium exported through
22    Russian ports.” Compl. ¶ 186.
23           In addition to piling conjecture upon conjecture, these allegations fail to establish
24    “concrete and particularized harm” specific to ASL Plaintiffs. Indeed, every energy
25    consumer in the country would suffer the same alleged injuries. Such generalized
26    grievances do not meet the particularized injury requirement in Article III. Lance, 549 U.S.
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 1    at 442 (refusing to find standing for an “undifferentiated, generalized grievance about the
 2    conduct of government”).
 3           Moreover, ASL Plaintiffs’ purported injuries rely on actions by third parties—
 4    namely, foreign nations with interests adverse to the United States and foreign uranium
 5    companies subject to those hostile nations’ control. See Compl. ¶ 186. Because the alleged
 6    harm—the potential “risks of power disruption,” see, e.g., id. ¶192(g)—depends on choices
 7    by third parties not before the Court, they are not fairly traceable to or caused by the
 8    establishment of the Ancestral Footprints Monument; nor do they satisfy the redressability
 9    requirement for Article III standing. Nw. Requirements Utils. v. FERC, 798 F.3d 796, 806
10    (9th Cir. 2015); see also Arizonans for Fair Elections v. Hobbs, 454 F. Supp. 3d 910, 918
11    (D. Ariz. 2020) (finding no standing where there is no likelihood that judicial relief would
12    prevent or redress the claimed injury). Russia’s ability to “deny [the United States] access
13    to Kazakh and Uzbek uranium exported through Russian ports,” Compl. ¶ 186, does not
14    depend on whether there is a new national monument near the Grand Canyon.
15                                         CONCLUSION
16           Based on the foregoing, the Governor and State of Arizona respectfully request the
17    Court grant their Motion and dismiss ASL Plaintiffs’ Complaint with prejudice. Any effort
18    to amend the Complaint is futile because ASL Plaintiffs lack authority to sue over harms
19    to the State of Arizona and they have not and will not suffer actual or imminent injuries as
20    a result of the Ancestral Footprints Monument’s designation.
21
22           RESPECTFULLY SUBMITTED this 13th day of September, 2024.

23                                              KRISTIN K. MAYES
24                                              ATTORNEY GENERAL

25
                                                By /s/ Joshua D. Bendor
26                                                  Joshua D. Bendor
                                                    Solicitor General
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